      Case 5:22-cr-00366-OLG          Document 347        Filed 02/24/25      Page 1 of 1

                                                                                 FILED
                                                                            February 24, 2025
                                                                           CLERK, U.S. DISTRICT COURT
                                                                           WESTERN DISTRICT OF TEXAS
                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS                                   NM
                                                                       BY: ________________________________
                              SAN ANTONIO DIVISION                                             DEPUTY


UNITED STATES OF AMERICA,                      §
                                               §         SA-22-CR-366-OLG
              Plaintiff,                       §
                                               §
                                               §
                                               §
(4)FELIPE ORDUNA-TORRES,                       §
(7) ARMANDO GONZALES-ORTEGA,                   §
                                               §
              Defendants.                      §




               ORDER GRANTING GOVERNMENT'S MOTION TO USE
                  PORTABLE LECTERN AND TELEVISION DURING
             OPENING STATEMENTS AND/OR CLOSING ARGUMENTS




       The Government's unopposed request that the parties be permitted to utilize a portable

lectern during opening statements and closing arguments, and a large television during closing

arguments, is hereby GRANTED.

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       ORDERED this ^\/             day of February, 2025.


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                                           HONORABLE ORLANDO GARCIA
                                           UNITED STATES DISTRICT JUDGE
